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DJW/ll

                             IN THE UNITED STATES DISTRICT COURT

                                     FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,

                                                        Plaintiff,

v.                                                                         Case No. 07-20044-01/02-JWL-DJW

ERNESTO HERNANDEZ-OLMOS, et al.,

                                                        Defendants.

ORDER OF DETENTION OF MATERIAL WITNESS JAIME LOPEZ-FUENTES

                                                     FINDINGS

         In accordance with 18 U.S.C. §3144 and 18 U.S.C. § 3142(f), a detention hearing has been

held. The following facts and circumstances require the detention of the witness Jamie Lopez-

Fuentes pending his appearance in connection with a court proceeding or his deposition in this case:


         Because Immigration and Customs Enforcement plans to deport the witness unless
         he is detained, there are no conditions that will ensure his appearance.


         This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.

§ 3142(g) as stated on the record in open court at the detention hearing.


                                    DIRECTIONS REGARDING DETENTION

         The witness Jamie Lopez-Fuentes is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. The witness shall be afforded a reasonable opportunity for
private consultation with counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the witness to the United States marshal for the
purpose of an appearance in connection with a Court proceeding or his deposition.


Date: April 25, 2007                                              s/ David J. Waxse
                                                                  DAVID J. WAXSE
                                                                  UNITED STATES MAGISTRATE JUDGE
